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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 1:09-MDL-02036-JLK

 

IN RE: CHECKING ACCOUNT
OVERDRAFT LITIGATION

MDL No. 2036 F'LED by_£tE_ D.c.

 

 

 

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Larsen v. Union Bank, N.A.
S.D. Fla. Case No. l:09-cv-23235-JLK
N.D. Cal. Case No. 4:09-cv-3250

 

 

UNION BANK’S RESPONSE TO PLAINTIFFS’ PROPOSED TRIAL PLAN

I. IN'I`RODUCTION

As plaintiffs point out in their Proposed Trial Plan (“PTP”), p. l, n. l, an increasing
number of courts, including the Eleventh Circuit, consider the plaintiffs’ proposed trial plan a
critical tool in determining whether or not class certification is appropriate Trial courts use
these plans to determine the universe of evidence which will be submitted on each claim and
affirmative defense, whether such evidence will be class-wide or individual in nature, and
whether the case would be manageable if certified as a class action. Vega v. T-Mobz`le USA, Inc.,
564 F.3d 1256, 1279, n. 20 (l lth Circuit 2009); compare with Abercrombz`e v. Lum ’s Inc., 345
F.Supp. 387, 390 (S.D. Fla. 1972) (King, J.) (“an analysis of the issues and the nature of proof

which Will be required at trial is directly relevant to a determination of whether the matters in

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dispute are principally individual in nature or are susceptible of proof equally applicable to all
class members”) (citations omitted).

Unfortunately, plaintiffs’ PTP is of little utility to the Court for this purpose. Plaintiffs do
not clearly identify the elements which Would have to be established to recover on each of their
causes of action, nor do they comprehensively describe all of the evidence to be introduced at
trial on each claim. Instead, plaintiffs’ PTP merely repeats the allegations of their complaint
and cites snippets of emails and documents which they characterize as class-wide evidence.
Union Bank responds to that plan by identifying the essential elements of each claim, describing
the various types of evidence which Will be introduced at trial and explaining why the need to
introduce such evidence will cause individual issues to predominate and render this case

unmanageable as a class action.
II. THE ESSENTIAL ELEMENTS FOR RECOVERY ON PLAINTIFFS’ CLAIMS

Set forth below are the essential elements which must be established at trial in order for
plaintiffs and members of the proposed class to prevail on each of their claims.

Count One, Violation of RICO:

To state a RICO claim under 18 U.S.C. § l962(c), a plaintiff must prove “(l) conduct (2)
of an enterprise (3) through a pattern (4) of racketeering activity.” Willz`ams v. Mohawk Indus.,
Inc., 465 F.3d 1277, 1282 (1lth Cir. 2006). To prove “racketeering activity” based on mail and
Wire fraud (as alleged here) he must also prove: “(l) that defendants knowingly devised or
participated in a scheme to defraud plaintiffs; (2) that they did so Willingly with the intent to
defraud; and (3) that the defendants used the U.S. mails or the interstate Wires for the purpose of
executing the scheme.” Ana’erson v. Smithjield Fooa's, 209 F.Supp. 2d 1270, 1272 (M.D. Fla.
2002) (internal quotations and citations omitted). The complaint must also plead “(4) that the

plaintiff relied on a misrepresentation made in furtherance of the fraudulent scheme, (5) that such

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misrepresentation Would have been relied upon by a reasonable person, (6) that the plaintiff
suffered injury as a result of such reliance, and (7) that the plaintiff incurred a specifiable amount
of damages.” Sikes v. Teleline, Inc., 281 F.3d 1350, 1360 (l lth Cir. 2002); see also Kemp v. Am.
Tel. & Tel. Co., 393 F.3d 1354, 1359 (l lth Cir. 2004). Finally, a civil RICO plaintiff must prove
injury to “business or property”“by reason” of the substantive RICO violation. Williams, 465 F.
3d at 1282-83; 18 U.S.C. § 1964(0).

Count Two, Breach of Contract and Breach of the Implied Covenant of Good Faith
and Fair Dealing:

To prove breach of contract, a plaintiff must prove, at minimum, a contract, plaintiff’ s
performance, defendant’s breach, and resultant damages Durell v. Sharp Healthcare, 183
Cal.App.4th 1350, 1367 (2010) (“A cause of action for damages for breach of contract is
comprised of the following elements: (l) the contract, (2) plaintiff’ s performance or excuse for
nonperformance, (3) defendant’s breach, and (4) the resulting damages to plaintiff”). Nw.
Indep. Forest Mfrs. v. Dep’t of Labor and Indus., 78 Wash.App. 707, 712 (1995) (“A breach of
contract is actionable only if the contract imposes a duty, the duty is breached, and the breach
proximately causes damage to the claimant.”) MEI, LLC v. Integral Applied Tech., Inc., 2009
WL 2871125, at *3 (D. Or. Sept. l, 2009) (“Specifically, the claim must include the following
elements: (1) whether the contract is oral or written; (2) when the contract was made; (3) the
terms of the contract; (4) what action was taken to breach the contract; and (5) damages.”)
(citations omitted).

To establish a claim for breach of the implied covenant of good faith and dealing, a
plaintiff must prove that plaintiffs entered into a contract; that plaintiff did all, or substantially all

of the significant things that the contract required or that he was excused from having to do those

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things; that all conditions required for defendant’s performance had occurred; that defendant
unfairly interfered With plaintiff’s right to receive the benefits of the contract; and that plaintiff
was harmed by defendant’s conduct. Judicial Council Of California Civil Jury Instruction 325 .

Count Three, Unconscionability:

Unconscionability constitutes a generally applicable defense to enforcement of contracts,
but is not a basis for affirmative relief, Califomia: Brown v. Wells Fargo Bank, NA, 168 Cal.
App. 4th 938, 955, (Cal. Ct. App. 2008) (citing Civ.Code, § 1670.5); Oregon: Best v. U.S. Nat.
Bank ofOregon, 78 Or. App. 1, 13 (Or. Ct. App. 1986), ajjf’d, 303 Or. 557, 739 P.2d 554 (1987)
(“Because the doctrine of unconscionability is not a basis for affirmative relief, the trial court
was correct in granting the bank’s motion for summary judgment against the unconscionability
claim.”); Washington: Satomi Owners Ass’n v. Satomi, LLC, 167 Wash. 2d 781, 813, 225 P.3d
213, 231 (2009) (recognizing unconscionability as one of the generally applicable contract
defenses).

Count Five, Unjust Enrichment:

Califomia: [Two Elements] “A person is enriched if [1] he receives a benefit [2] at
another’s expense. The term benefit denotes any form of advantage Thus, a benefit is conferred
not only when one adds to the property of another, but also when one saves the other from
expense or loss.” Ghirardo v. Antonz`olz`, 14 Cal. 4th 39, 51-52 (1996) (intemal quotations and
citations omitted).

Oregon: [Three Elements] “Those three elements are [l] ‘a benefit conferred, [2]
awareness by the recipient that a benefit has been received and, [3] under the circumstances, it
would be unjust to allow retention of the benefit Without requiring`the recipient to pay for it.”

Edwara’ D. Jones & Co. v. Mishler, 983 P.2d 1086, 1101 (Or. Ct. App. 1999).

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Washington: [Three Elements] “'l`o establish unjust enrichment, the claimant must meet
three elements: (1) one party must have conferred a benefit to the other; (2) the party receiving
the benefit must have knowledge of the benefit; and (3) the party receiving the benefit must
accept or retain the benefit under the circumstances that make it inequitable for the receiving
party to retain the benefit without paying its value.” Cox v. O’Brien, 206 P.3d 682, 688 (Wash.
Ct. App. 2009).

Count Six, Violations of California Business & Professions Code § 17200

Plaintiffs must establish that Union Bank’s conduct constituted unlawful, unfair or
fraudulent business act or practice. (Cal. Bus. & Prof. Code, § 17200.) Addtionally, plaintiffs
must each establish that they suffered “injury in fact” and lost money as a result of the alleged
act of unfair competition. (Cal. Bus. & Prof. Code, § 17204.) And, for each class member, they
must prove that Union Bank wrongfully acquired money from that class member as the result of
the alleged unfair competition Korea Supply Company. Lockheed Martz'n Corporatz`on, 29
Cal.4th 1134, 1149 (2003)

III. THE COMMON AND INDIVIDUAL PROOF WHICH WILL BE INTRODUCED
AT TRIAL ON PLAINTIFFS’ CLAIMS

Plaintiffs compare this case to others which involve claims arising out of “uniform form
contracts,” and repeatedly state that customers entered into the same or similar contracts (account
agreements) because variations were not permitted. As explained in Union Bank’s opposition
memorandurn, however, plaintiffs’ lawsuit is not based upon a simple, uniform claim that Union

Bank’s posting order violated its agreement With all class members.l lnstead, they allege that

 

l To the contrary, the account agreement specifically reserved to Union Bank the right to post
transactions in any manner it wished, and disclosed that the Bank would generally pay larger
items first_which is precisely What plaintiffs say that Union Bank did.

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Union Bank engaged in a variety of related practices Which breach the implied covenant of good
faith and fair dealing, were unconscionable, resulted in unjust enrichment, etc.

Accordingly, Union Bank sets forth below the common and individual evidence which
will be introduced at trial on plaintiffs’ claims.

A. Evidence Regarding Supposedly Misleading Disclosures in the Union Bank
Account Agreement.

Plaintiffs allege that Union Bank misleads its customers about its posting practices by
providing deceptive statements in its deposit agreement about those practices. Third Amended
Complaint (“TAC”), 1[1[ 68, 84(e)-(f). This allegation is incorporated into each of the five claims
for which plaintiffs seek class certification Ia'. 1111 120, 130 (failure to describe posting practices
“in an unambiguous manner” constitutes a RICO violation), 135, 142, 143(e) and (f) (Union
Bank’s overdraft practices are unconscionable because the disclosure of them in the deposit
agreement is ambiguous, deceptive and misleading), 159, 168. Plaintiffs say in their PTP that
they will show by common evidence that customers were harmed by the “vague and misleading
disclosures” in the account agreement See PTP, p. 4.

At trial, however, Union Bank will introduce individual evidence which disproves
plaintiffs’ claim that all putative class members Were misled by this agreement

First, while plaintiffs acknowledge that Union Bank customers are required to enter into a
deposit agreement when opening an account (PTP, pp. 3-4), three of the four named plaintiffs
(Larsen, Logan and Brown) did not remember receiving the Account Agreement and did not

believe they ever read it before suing.2 The fourth plaintiff (Naehu-Reyes) remembers reading

 

2 Larsen Depo., 22:15-22, 42:8-15; Logan Depo., 31:11-33:8, 39:22-40:15, 106:20-107:5;
Brown Depo., 25:17-26:13, 30:6-31:6.

 

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the agreement only briefly, and formed his understanding of Union Bank’s ordering practices
based upon communications with friends and family members.

Accordingly, these plaintiffs could not have been misled or otherwise harmed by any
“vague or misleading” disclosures in the account agreement For example, While plaintiffs
contend that the class can recover under RICO based upon the Bank’s dissemination of this
agreement through the mails and wires (PTP, p. 12), class members who do not remember
receiving or reading it, were not confused by it and cannot show they relied upon anything said
in this agreement plainly cannot recover for a RICO violation based upon the contents of the
agreement

Moreover, when two of the plaintiffs re-read the portion of the account agreement dealing
with order of processing, they understood it to mean exactly what is said. Namely, that Union

”3 Union Bank will also introduce

Bank would “generally pay larger checks and transactions first
evidence that other class members did read the deposit agreement, including the disclosures
regarding Union Bank’s ability to post items in any order it wished, and understood that it would
generally post items in high to low order.

B. Evidence of Other Supposedly Misleading Disclosures.

Plaintiffs allege that Union Bank provided other disclosures to customers which were
misleading and caused customers to incur the overdraft fees plaintiffs seek to recover.

According to plaintiffs, these included bank statements, marketing materials and other

disclosures. Union Bank Will introduce common evidence showing that it took affirmative steps

 

3 Brown Depo., 83:5-84:24; Naehu-Reyes Depo., 97:15-98:12.

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to explain the change to its posting practices in April of 2004,4 and that it sent individual
overdraft notices to customers identifying each transaction which had resulted in an overdraft
fee. Union Bank will also introduce individualized evidence showing that two of the named
plaintiffs who Were customers at the time do not remember receiving this disclosure, Whereas
other customers read and understood the disclosure and took steps to avoid overdraft fees.

C. Evidence of Supposedly Misleading Balance Information Provided to
Customers.

Plaintiffs also claim that Union Bank caused them to overdraft their accounts and incur
overdraft fees by providing them With inaccurate balance information, which they relied upon.
For example, they contend that Union Bank told customers they had positive balances When, in
reality, they had negative balances TAC, 1111 70, 71, 128. Plainitffs rely upon this allegation to
support each of their causes of action. Id., 1[11 120, 135, 142, 159 and 168.

ln their proposed trial plan, plaintiffs say they Will establish by class-Wide proof that
Union Bank “provided unclear balance information to all Class members.” PTP, p. 5 (emphasis
added). Yet, they never explain how they will do this. The only evidence they cite are snippets
from a few emails (culled from the hundreds of thousands of documents produced by the Bank)
which suggest that, at least in some instances, customers may have been confused about their
balances. See PTP, p. 5, n. 6; see also p. 12, n. 30 (5 calls received from customers who were
concerned or confused). Such anecdotal “evidence” Will not suffice to prove, on a class-wide

basis, that all class members checked their balances, were confused or misled, and relied to their

 

4 This Notice of Change in Terrns was sent to all existing customers in February of 2004.

lt not only explained the change to its posting order practices, but urged customers to take steps
to avoid overdraft charges_and it specifically recommended two different overdraft protection
plans offered by the Bank.

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detriment See also PTP, p. 6, Which talks of “Widespread consumer confusion” but provides the
Court with no plan on how they Will prove classwide confusion at trial.

The individual evidence which Union Bank will introduce at trial will disprove this
claim. Union Bank will show that, for individual transactions entered into by plaintiffs and other
class members, the available balance information provided by Union Bank was accurate. lt will
show that the balance maintained by the Bank included all transactions of which the Bank was
aware at the time the customer initiated the transaction Union Bank will also submit evidence
demonstrating that some plaintiffs’ claim that they “routinely” checked their available balance,
or did so every other day, or only entered into transactions after they had checked their available
balance to make sure that they had sufficient funds, is contradicted by their own testimony and
other evidence. This evidence Will include plaintiffs’ admissions that they were not aware of any
inaccurate balance information provided them by the Bank, and that they could not identify any
overdraft fee they incurred as the result of relying on any inaccurate balance information

Union Bank Will submit individual evidence showing that plaintiffs and other customers
checked their balances infrequently. lt will also show that they entered into transactions when
the balance available from Union Bank, and their own knowledge of the transactions they had
previously entered into, provided ample warning that there Were insufficient funds to cover an
intended transaction and that an overdraft fee would result

D. Evidence Regarding Holds of Funds in Customer Accounts.

Plaintiffs allege that Union Bank’s practice of placing a hold on funds in the customer’s
account results in the unfair assessment of overdraft fees at a time when the customer had
sufficient funds in the account to cover the transaction TAC, 11 73; PTP, p. 4. Union Bank will

rely upon both class-wide and individual evidence to defeat that claim.

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The common evidence will include the terms of Union Bank’s account agreement and the
disclosures it provided customers These provisions explained the Bank’s hold policy in detail,
including the fact that the use of a debit card may result in an immediate hold and may make
funds unavailable to pay subsequent transactions

Union Bank will also rely upon individual evidence of customers’ understanding of its
hold policy. That evidence will show that, while the named plaintiffs cannot recall receiving
these disclosures, they knew or assumed (based upon “common sense”) that a hold would result
from the use of a debit card and that an overdraft could result Union Bank Will also introduce
individual evidence that other customers both read these disclosures and understood the policy.
Accordingly, the Bank’s hold policy cannot be a basis for imposing liability on the Bank, under
any of plaintiffs’ theories

E. Evidence of Union Bank’s Supposed “Delay” in Posting Items.

Plaintiffs also claim that Union Bank delays posting charges to a customer’s account,
“sometimes” for multiple business days, and that this delay causes multiple overdraft charges
TAC, 1164; see also ia'., 1111 68, 127, 130; PTP, p. 4. As plaintiffs allege that this occurs only
“sometimes,” not “always,” they implicitly concede this is an individual rather than a classwide
issue.

Union Bank Will present common evidence that it does not “delay” posting charges to a
customer’s account, but posts them Whenever they are submitted for settlement_which is
different from (and often later than) the date on which the transaction is initiated. Union Bank
will further show that this practice did not result in the imposition of overdraft fees which would

otherwise not have occurred.

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ln addition, the Bank will present evidence of individual transactions on customers’
accounts This evidence is necessary to show that the amount of time between initiation of the
transaction by the customer and posting by Union Bank varies from transaction to transaction,
such that there can be no classwide liability based upon this claim. Further, this individual
evidence will show that this delay is the result of the actions of the merchant in a particular
transaction, not any intentional delay on the part of the Bank to increase overdraft fees

F. Evidence Regarding Union Bank’s Decision to Change Its Posting Order,
The Effect on Customers and Its Customers’ Preferences.

Plaintiffs claim that Union Bank’s “entire purpose” in changing its posting practices was
to generate additional revenue. PTP, p. 5. This is untrue, as Union Bank will show at trial. lt
will put on evidence that it conducted an internal analysis for more than a year before changing
its posting order so that larger dollar items are generally paid first lt will show that it studied the
practices of other banks and changed its practices to be aligned with those banks, thus preserving
Union Bank’s competitive position, as specifically permitted by OCC regulations regarding the
assessment of bank fees

Union Bank will further show that it considered not only the increased revenue which
would result from changing its posting practices, but the impact that higher overdraft fees would
have on customers who incurred multiple overdraft fees and whose risky behavior Union Bank
wanted to curtail5 Union Bank will also prove that it conducted two different customer surveys

about this change to its overdraft practice_one before it implemented the change and one six

 

5 The validity of the Bank’s concern will be confirmed by evidence concerning the

individual plaintiffs’ circumstances Two of the four named plaintiffs incurred so many
overdrafts that Union Bank closed their accounts The Bank suffered a loss as the result of
plaintiffs’ refusal to repay the Bank for amounts it advanced to merchants on their behalf. This
evidence will disprove plaintiffs’ claim that the overdraft fees were not “reasonably related to the
costs or risks associated with providing overdraft protection” PTP, p. 6

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months after, to see how Union Bank customers were responding to the change; both of these
studies confirmed that Bank customers were satisfied with the Bank paying larger dollar items
before smaller ones

While much of this evidence is common, Union Bank will also introduce individual
evidence showing that many of its customers affirmatively want Union Bank to pay larger dollar
items first, even if more overdraft fees may be incurred as a result (This was confirmed in the
customer studies performed by the Bank as well.) Some customers benefit from high-to-low
posting order. Larger items, such as checks for important purchases or other obligations (such as
rent or mortgage payments) are debited first, assuring they will be paid, even if lower-sum debit
card transactions are declined as a result of a large overdraft 6 ln the federal regulators’ words,
“payment of the check or ACH overdraft may allow the consumer to avoid a second fee assessed
by the merchant for a returned item as well as possible negative reporting consequences.” 73
Fed. Reg. 28904-01, 28929 (May 19, 2008).

Plaintiffs hope to convince the trier of fact that the Bank “uniformly re-sequenced
transactions . . . from highest to lowest” (PTP, p. 4), and that chronological posting would be
more beneficial for every customer in the putative class However, Union Bank will introduce
evidence showing that not all transactions were posted from highest to lowest dollar amount
More importantly, it will show that the chronological posting advocated by plaintiffs would not
benefit the customer in every instance but, in fact, would create additional overdraft fees in some

cases To prove this, Union Bank will introduce individual evidence of transactions on class

 

6 Brown Depo., 168:10-16 (When asked how plaintiff felt about Union Bank paying a rent

check when she did not have sufficient funds to cover it, she replied “[t]hat they paid it, fine.
And that if they charged me an overdraft fee for it, fine.”); 167:17-24; 216:1-8 (Plaintiff never
had a rent check bounce with Union Bank; however, several were paid against nonsufficient
funds.)

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member accounts, including some involving the named plaintiffs’ accounts, which show that
chronological posting would have harmed customers in some instances This evidence will stand
in stark contrast to plaintiffs’ allegation that no reasonable person would have agreed to the
posting practices of the Bank. PTP, p. 6.

While plaintiffs claim that they and other class members were tricked or deceived into
incurring multiple overdraft fees, Union Bank will submit individual evidence showing that this
is not true. This evidence will show that individual class members read and understood the
description of the Bank’s posting order in their account agreement; received account statements
informing them that they had incurred overdraft fees; and received and reviewed individual
overdraft notices identifying the transaction which had resulted in an overdraft fee and
identifying any hold on funds which might have reduced the available balance on the account

The evidence to be introduced at trial will also show that many of those customers who
incurred multiple overdraft fees on numerous occasions (i.e., “chronic” overdrafters) did not do
so because they were confused or unaware that multiple overdraft fees would result lnstead,
they did not want to take the time to track their transactions or their account balances, or they
wanted to obtain the good or service even though they had insufficient funds and an overdraft fee
would result

Plaintiffs Brown, Logan, Larsen, and Naehu-Reyes apparently intend to dispute this, even
though they incurred overdraft fees totaling some $2,600, $2,500, $2,200 and $500, respectively.
However, Union Bank will submit evidence showing that the named plaintiffs were aware of the
multiple overdraft fees which would result if they did not manage their bank account prudently-
and that they eventually changed their behavior and monitored their own transactions such that

they were able to completely eliminate overdrafts

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Plaintiffs apparently hope to convince the trier of fact that all class members were “poor
but honest” based upon a single email using that phrase. PTP, p. 8. However, Union Bank will
introduce evidence showing that customers overdrafted their accounts for a wide variety of
reasons Many customers were simply inattentive or careless, failing to check their balances or
note expenditures they had made which would reduce their available balance once those charges
were posted to their account These included both “poor” and wealthy customers, and those in
between Some overdrafts (including several on plaintiff Larsen’s account) were caused by the
return of checks which Union Bank customers had deposited into their accounts but which had
been written against insufficient funds Some customers knowingly purchased more goods and
services than they could afford, and consciously used overdrafts to bridge this gap. As the
Eleventh Circuit has held, such widely varying individual circumstances must be considered in
determining plaintiffs’ unjust enrichment claim, rendering this claim particularly “inappropriate
for class action treatment” Vega, 564 F.3d at 1274. Plaintiffs’ other causes of action are
similarly not amenable to class action treatment

G. Evidence Regarding Customers’ Ability to Avoid Overdrafts.

Finally, plaintiffs claim that each class member was denied any “meaningful opportunity”
to opt out of Union Bank’s overdraft protection program (PTP, p. 6) or to avoid overdrafts by
changing their conduct The issue is significant because, under plaintiffs’ claim for violation of
Califomia’s Unfair Competition Law (Count Vl), a consumer’s ability to avoid the alleged harm
is a key factor in determining whether the defendant’s actions were “unfair” and whether the
consumer is entitled to recover. This same issue will impact the affirmative defenses which
Union Bank is likely to assert once the pleadings are settled, such as consent, waiver and failure

to mitigate damages

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Union Bank’s evidence at trial will show that it offered customers various products which
would allow them to avoid overdraft fees altogether. These include its savings overdraft
protection program (“SOPP”) and its cash reserve account, both of which are offered on the face
of the account agreement which the customer signs to open the account At least one of the
named plaintiffs (Naehu-Reyes) signed up for the SOPP with Union Bank. Others, like Logan
and Larsen, declined these offers but later changed their practices in checking their account
balances such that they were able to avoid overdraft fees altogether. This evidence, Which is of
course individual in nature, will be introduced at trial in response to plaintiffs’ claims

IV. AFFIRMATIVE DEFENSES

Plaintiffs’ PTP contains no plan for how Union Bank’s affirmative defenses would be
tried in the event that this case were certified as a class action This alone renders the plan
ineffective as a “roadmap” for class certification and trial, since trial courts are obligated to
consider how affirmative defenses will impact the requirements for class certification including
the predominance and superiority elements under Rule 23(d)(3). Rutstein v. Avis Rent-A-Car
Sys., 211 F.3d 1228, 1234 (11th Cir. 2000) (citing 5th Circuit for proposition that “[g]oing
beyond the pleadings is necessary, as a court must understand the claims, defenses relevant
facts, and applicable substantive law in order to make a meaningful determination of the
certification issues”) (citation omitted) (emphasis added).

Because the pleadings are not settled, Union Bank has not asserted its affirmative
defenses to whichever of plaintiffs’ claims may survive the pending motion to dismiss Which
affirmative defenses will remain for trial will depend upon which of plaintiffs’ claims survive the
pending motion to dismiss However, Union Bank currently anticipates that it will assert a
number of affirmative defenses which will require the introduction of individual evidence at trial.

These affirmative defenses are likely to include consent, waiver, ratification, estoppel, and

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voluntary payment each of which may be applicable as to some plaintiffs and not others
Moreover, if and When it answers, Union Bank will seek to recover_through offsets and
counterclaims_amounts that are due from Larsen, Brown, and others, as a result of the fact that
they closed their accounts with negative balances Adjudicating these counterclaims and
calculating these offsets in a manner that is fair to the entire putative class will require individual
proof as to the amounts owed.

V. INDIVIDUAL ISSUES PREDOMINATE

The evidence described above will establish that plaintiffs cannot recover on their various
claims against Union Bank, because they will be unable to establish one or more of the essential
elements for recovery under the particular cause of action Union Bank will be entitled to
present this evidence at trial in order to defend itself from plaintiffs’ claims

As shown above, introduction of this evidence will require individual testimony not only
from the four named plaintiffs, but from other members of the putative class who read and
understood Union Bank’s account agreement and disclosures; understood the Bank’s posting
practices; preferred that the Bank pay higher dollar items first; benefitted from the practices
under attack; successfully avoided overdrafts, etc.

Certainly, there will be common, class-wide evidence regarding the terms of the account
agreements (which are essentially uniform) and the various factors which Union Bank analyzed
in changing its posting practices in April of 2004. However, the individual evidence described
above will plainly predominate, in terms of the trial time required.

lt would not be possible for this case to be tried in nine days, as plaintiffs suggest, and
their analogy to the trial in the Gutierrez v. Wells Fargo case is inapt That case involved a
single state class and only a single cause of action; plaintiffs dismissed their other claims before

trial, including claims which they are seeking to certify here. Gutierrez was tried to a judge, not

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a jury. And the nine day trial in Gutierrez resolved only the issue of liability under plaintiffs’
single statutory claim; damages and other issues were addressed in subsequent proceedings
Which consumed substantially more time than plaintiffs suggest

This case, by comparison, involves a multi-state class lt includes five different causes of
action, each of which has numerous elements The elements vary from state to state, as do Union
Bank’s probable defenses This case will be tried to a jury, unlike Gutierrez. The trial of this
case would thus require jury instructions and special verdict forms, including instructions on the
elements for recovery under each of plaintiffs’ claims, and instructions on how those elements
vary from state to state. Union Bank estimates that the trial of this case would take a minimum
of 20 trial days_perhaps substantially longer.

Trial of this case in 9 days could only be accomplished if Union Bank were prohibited
from calling plaintiffs and other class members as witnesses, putting on evidence of individual
accounts and transactions, and presenting the sort of detailed evidence which will be necessary to
disprove the allegations which plaintiffs make in their complaint Union Bank cannot be barred
from presenting this evidence or hamstrung in its defense of this case simply because denial of
class certification would be the inevitable result if Union Bank were allowed to properly defend
itself from plaintiffs’ claims. Simply put, the rules do not change just because plaintiffs have
elected to plead their case as a class action As courts have explained,

Class actions are provided only as a means to enforce substantive
law. Altering the substantive law to accommodate procedure
would be to confuse the means with the ends_to sacrifice the goal
for the going.
Cin of San Jose v. Superior Court, 12 Cal.3d 447, 462 (1974); see also Granberry v. Islay Inv., 9

Cal.4th 73 8, 749 (1995) (“lt is inappropriate to deprive [class action] defendants of their

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substantive rights [there, the right to a setoff] merely because those rights are inconvenient in
light of the litigation posture plaintiffs have chosen”).

Because such individual issues predominate, class certification will not be the superior
means of adjudicating these claims given the difficulties in managing these claims as a class
action Any trial of this case would require the presentation of a substantial amount of evidence
specific to each of an unknown number of class members As the Vega court has acknowledged,
“[t]his reality poses serious challenges to the efficiency and manageability of a class action
proceeding.” Vega, 564 F.3d at 1278. Absent a concrete plan from plaintiffs for how to feasibly
address these difficulties it is clear that a class action is not superior to other available methods
of adjudicating the controversy. Id. at 1278-79.

VI. PLAINTIFFS’ PROPOSED TRIAL PLAN IS DEFECTIVE
FOR OTHER REASONS

Plaintiffs’ PTP suffers from other flaws as well, which Union Bank briefly recaps here.

Plaintiffs’ proposed treatment of Count Three for “unconscionability” is illustrative of the
problems with their plan As an initial matter, Union Bank reasserts its position that
unconscionability is only a defense to enforcement of a contract and does not give rise to an
affirmative cause of action California Grocers Assn. v. Bank of Arnerica, 22 Cal.App.4th 205
(Cal. App. 1994); see page 4 above.

The Bank acknowledges the Court’s previous finding that, while the above rule is
ordinarily true, this case may be the sort of extraordinary case in which unconscionability can
give rise to an affirmative claim. See March ll, 2010 Order Ruling on Omnibus Motion to
Dismiss, DE #305.. But the Court specifically found that this doctrine might allow the Court to
exercise its equitable powers to fashion relief for customers Id. Plaintiffs conceded as much in

connection with the motion to dismiss, ibid, and they again note in their proposed trial plan that

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uncionscionability is determined by the Court as a matter of law. PTP, Ex. C. Yet they propose
trying this claim to a jury when they plainly have no right to a jury trial of this purely equitable
claim (or defense).

Plaintiffs would have the jury make a finding on whether the “overdraft provisions” are
unconscionable, without specifying which provisions they seek to invalidate7 Then, they
envision that the jury will decide whether the Court “may declare [Union Bank’s] contractual
provisions to be unconscionable.” PTP, Proposed Special Verdict Form. This approach mixes
up the proper roles of judge and jury. lt is the role of the trial court, sitting in equity, to
determine whether a particular provision should not be enforced because it is unconscionable

Next, plaintiffs would have the jury make a finding on the amount of the “monetary
relief” which should be awarded based upon Union Bank’s insertion of supposedly
unconscionable “overdraft provisions” in the account agreement However, they cite no
authority for this notion that monetary relief can be awarded based upon a finding that a
contractual provision is unconscionable As previously explained, the proper remedy is that the
trial court may strike or refuse to enforce the offending provision, and it is the trial court which
would decide what further equitable relief may be warranted.

Similarly, plaintiffs propose that their fifth and sixth causes of action, for unjust
enrichment and violation of Califomia’s unfair competition law, be tried to a jury. They are
wrong here as well. Both are equitable claims which will be tried to the court Chauffeurs,

Teamsters and Helpers, Local No. 391 v. Terry, 494 U.S. 558, 570, 110 S.Ct 1339, 108 L.Ed.2d

 

7 There are numerous provisions throughout the Union Bank account agreement dealing

with overdrafts lt is unclear whether plaintiffs seek to invalidate that portion allowing the Bank
to post in any order or “generally” high to low, or those provisions which allow the Bank to pay
items into overdraft, or some other provision(s).

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519 (1990); Okura & Co. (America), Inc. v. Careau Group, 783 F.Supp. 482, 490 (C.D. Cal.
1991); Beasley v. Wells Fargo Bank, 235 Cal.App.3d 1383, 1392 (Cal. App. 1991).

Plaintiffs’ proposed trial plan also ignores essential elements for recovery under certain
of their claims, and misstates other elements For example, their proposed special verdict form
for their RlCO claim omits entirely the element of reliance, which must be established in order
for any plaintiff or class member to recover. Bridge v. Phoenix Bond & Indem. Co., 553 U.S.
639, 658-59 (2008); Braswell Wood Co., Inc. v. Waste Away Group, Inc., 2010 WL 3168125, at
*3 n 1 (M.D. Ala. 2010); In re Managed Care Litig., 2009 WL 812257, at *8 (S.D. Fla. 2009);
see Reply Memo. re Motion to Dismiss 3d Amended Compl. (DE #1505), pp. 13-18. Finally,
their proposed special verdict form includes no findings on Union Bank’s affirmative defenses,
and is plainly inadequate for that reason as well.

VII. CONCLUSION

For all the foregoing reasons, the Court should find that Plaintiffs’ Trial Plan is
inadequate
Dated: June 9, 2011 Respectfully submitted,

Ma/

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CERTIFICATE OF SERVICE

l hereby certify that on June 9, 2011, l served the foregoing document with the Clerk. l
also certify that the forgoing document is being served this day, via Hand Delivery, on Robert C.
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